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 7                          UNITED STATES DISTRICT COURT

 8                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

 9                             October 2019 Grand Jury

10   UNITED STATES OF AMERICA,               CR No. 2:20-cr-00327-DSF

11             Plaintiff,                    I N D I C T M E N T

12             v.                            [18 U.S.C. § 1343: Wire Fraud; 18
                                             U.S.C. § 981(a)(1)(C) and 28
13   BRENDAN ROSS,                           U.S.C. § 2461(c): Criminal
       aka “Brandon Rosen,”                  Forfeiture]
14
               Defendant.
15

16

17        The Grand Jury charges:
18                              COUNTS ONE THROUGH TEN
19                                [18 U.S.C. § 1343]
20   A.   INTRODUCTORY ALLEGATIONS
21        At times relevant to this Indictment:
22        Defendant BRENDAN ROSS
23        1.   Defendant BRENDAN ROSS, also known as “Brandon Rosen,” was
24   a resident of Los Angeles County, within the Central District of
25   California.
26        2.   Defendant ROSS was the founder and sole owner of Direct
27   Lending Investments, LLC (“DLI”), a California limited liability
28   company, and its Chief Executive Officer (“CEO”).
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 1        Direct Lending Investments, LLC, and Related Entities

 2        3.      DLI was an investment adviser whose principal place of

 3   business was in Los Angeles County.        In or about 2016, DLI registered

 4   as an investment adviser with the U.S. Securities and Exchange

 5   Commission.       DLI had several affiliated companies (collectively, the

 6   “Funds”):

 7                a.     Direct Lending Income Fund, L.P. (“DLIF”).      DLI was

 8   the General Partner and sole investment manager of DLIF, which was a
 9   Delaware limited partnership.      DLIF was an investment fund for
10   individual and institutional investors, who received limited
11   partnership interests in exchange for their investments.           After on or
12   about October 1, 2016, DLIF was restricted to United States-based
13   investors.    DLIF received investor funds at a bank account held in
14   its name at Northbrook Bank and Trust Company (“DLIF Northbrook
15   Account”).    As the General Partner of DLIF, DLI also maintained a
16   capital account with DLIF.      Throughout 2016, the balance in DLI’s
17   DLIF capital account increased to approximately $12,130,000.            In the
18   same year, DLI withdrew and received distributions from its capital
19   account totaling approximately $12,119,000.         In addition to his
20   interest in DLIF through his ownership of DLI, defendant ROSS
21   personally invested in DLIF, as did members of his family.           As of in
22   or about December 2017, defendant ROSS and his family’s DLIF
23   partnership interests were collectively valued at approximately over
24   $4,000,000.
25                b.     Direct Lending Income Feeder Fund, Ltd. (“DLIFF”).
26   DLIFF was a Cayman Islands corporation that began operations on or
27   about October 1, 2016.      DLIFF was an investment fund for individual
28   and institutional investors based outside of the United States, who

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 1   received shares in exchange for their investments.

 2                c.   DLI Capital, Inc. (“DLI Capital”).       DLI Capital was a

 3   Nevada corporation that began operations as an investment fund on or

 4   about October 1, 2016.     DLI managed DLIF’s and DLIFF’s investments

 5   through DLI Capital once it began operations.         DLI Capital was owned

 6   by DLIF and DLIFF.     DLI Capital held its investments in holding

 7   companies.    DLI was the sole investment adviser for DLI Capital.

 8        4.      At the direction of defendant ROSS, including through the

 9   operation of DLI, DLI provided prospective investors in DLIF and

10   DLIFF with written materials, including Private Placement and

11   Confidential Explanatory Memoranda, which touted DLI’s investment

12   strategy and the benefits of investing in the Funds, including claims

13   that the Funds provided consistent, predictable, and high investment

14   returns.     As a further inducement to invest and an implicit

15   additional assurance of the touted consistent and high returns, in or

16   about January 2016, as further discussed below, defendant ROSS and

17   DLI, acting at defendant ROSS’s direction, stated and agreed that DLI

18   would forego any performance fee that was otherwise due in the event

19   that the relevant Fund did not realize at least a seven-percent

20   return on investment in the relevant time period.

21        5.      Defendant ROSS and DLI provided and caused to be provided

22   ongoing updates about the Funds’ performance to investors.           These

23   updates included:     monthly letters sent to all investors setting

24   forth, among other things, the monthly overall returns realized by

25   the Funds on their investments; monthly financial statements for the

26   Funds prepared by the Funds’ third-party administrator; annual

27   audited financial statements for each of the Funds; and monthly

28   individualized account statements sent to each investor setting forth

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 1   the value of and returns on each investor’s investment at the end of

 2   each month.

 3        6.   In exchange for managing the Funds’ assets, DLI charged

 4   investors monthly performance and management fees.          In general, from

 5   in or about 2012 through in or about October 2016, the performance

 6   fee, called a “performance allocation,” was based on an investor’s

 7   share of net profits; beginning in or about October 2016, the

 8   “performance fee” was based on the investor’s share of earnings

 9   before interest and taxes (“EBIT”).        In general, from in or about

10   2012 through in or about January 2015, the management fee was based

11   on the investor’s share of the relevant Fund’s gross assets less

12   liabilities (“net asset value”); beginning in or about January 2015,

13   the management fee was based on the investor’s share of the relevant

14   Fund’s gross assets (“gross asset value”).         While the specific fee

15   percentages varied and could be amended by contract, DLI generally

16   charged a management fee equal to one percent per year (0.08333% per

17   month) and a performance fee of 20% per month of the relevant metric

18   set forth above.    Investors were charged a performance fee only if

19   the relevant Fund’s net asset value for the month at issue exceeded

20   the Fund’s prior high net asset value or the Fund had no net losses

21   and, therefore, the investor’s share of the relevant Fund’s value had

22   increased during the relevant time period.         In or about January 2016,

23   DLI agreed to charge a performance fee only if the investor realized

24   a return on its investment of at least seven percent.

25        7.   DLI’s assets under management grew rapidly starting from

26   its founding in 2012, and defendant ROSS frequently touted DLI’s

27   growth to prospective and current investors.         As of in or about the

28   summer of 2017, DLI had more than $1 billion in assets under

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 1   management.     DLI’s performance and management fees grew in tandem

 2   with the growth of its assets under management.         As the sole owner of

 3   DLI, defendant ROSS directly benefited from DLI’s collection of

 4   management and performance fees from the Funds and the increases in

 5   these fee amounts.

 6        The Investment in Company 1

 7        8.      At defendant ROSS’s direction, DLI invested the Funds’
 8   assets primarily in short-term loans, lines of credit, receivables,
 9   and other debt obligations and real estate loans, including through
10   Company 1.    Company 1 was a private company that provided online
11   lending services to small businesses and retailers.          Company 1
12   identified prospective borrowers and then offered investors, such as
13   the Funds managed by DLI, the opportunity to finance Company 1’s
14   loans to the borrowers and receive the interest paid, in addition to
15   the principal returned, by the borrowers in exchange for origination
16   and servicing fees to be paid to Company 1.
17        9.      Beginning in or about August 2013, defendant ROSS,
18   including through the operation of DLI, caused the Funds to, directly
19   and indirectly through associated entities, enter into agreements
20   with Company 1 to fund loans Company 1 originated.          Under the terms
21   of the relevant agreements, in exchange for their investments, the
22   Funds were entitled to any interest and principal payments made by
23   the borrower.     Under the terms of 2013 and 2015 agreements, the Funds
24   would pay origination and servicing fees to Company 1, which would
25   service the loans.    Pursuant to a 2017 agreement, the Funds agreed to
26   purchase millions of dollars’ worth of new loans to be originated by
27   Company 1 between in or about August and in or about October 2017.
28   The 2017 agreement provided that Company 1, for its part, would

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 1   transfer ownership of existing loans to a DLI Capital holding company

 2   and be paid servicing fees only on certain loans, namely, loans that

 3   Company 1 had originated pursuant to the earlier 2015 agreement and

 4   whose borrowers had not fallen behind on their payment schedule.

 5        10.   Borrowers obtaining loans from Company 1 repaid their loans

 6   directly to Company 1.     Company 1 applied a payment received from a

 7   borrower as follows: first, to pay any loan origination and/or

 8   servicing fees owed to Company 1; second, to the relevant investors,

 9   i.e., the Funds, the interest owed; and third, to the relevant
10   investors, i.e., the Funds, any remaining amount to be used to reduce
11   the principal balance.     Company 1 then transferred the amount due to

12   the Funds to an account held on behalf of the Funds.

13        11.   Company 1 was not required to make any payments of interest

14   or principal due on a loan to the investing Fund unless and until the

15   borrower had made a loan payment to Company 1.         If a borrower failed

16   to make a payment as required, Company 1 would accrue interest on any

17   missed payments, thereby increasing the amount of interest the

18   borrower owed.

19        12.   At defendant ROSS’s direction, DLI rapidly increased the

20   Funds’ investments in Company 1.       As of the end of in or about

21   December 2013, DLI valued the overall investment in Company 1 at just

22   over $5 million.    As of the end of in or about June 2017, DLI valued

23   the investment in Company 1 at over $149 million.

24        13.   On a monthly basis, Company 1 provided DLI information

25   about the performance of the loans held by the Funds, including the

26   date and amount of the last borrower payment on each loan.           DLI used

27   this information to create a monthly financial close report and

28   establish the fair value of the Company 1 portfolio held by the

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 1   Funds.   Prior to in or about August 2016, defendant ROSS was

 2   responsible for completing the monthly close and valuation process

 3   for the Company 1 position.      After in or about August 2016, a member

 4   of DLI’s finance team was responsible for the monthly close process

 5   for the Company 1 portfolio.      ROSS and DLI’s finance team would add

 6   the fair value of the Funds’ Company 1 investment to the fair value

 7   of the other Funds’ investments to calculate the corresponding

 8   management and performance fees to which DLI was entitled.

 9        14.   As part of the close and valuation process, defendant ROSS

10   and members of DLI’s finance team working at his direction used

11   information supplied by Company 1 to determine whether the borrower

12   had made timely payment on the loan (“current loan”) or had failed to

13   make timely payment on the loan (“non-current loan”).           For non-

14   current loans, defendant ROSS and members of DLI’s finance team

15   working at his direction would determine whether to reduce the value

16   of the loan to account for the possibility that the borrower would

17   fail to make future payments.      DLI’s valuation policy generally

18   required that: (a) current loans were valued at the remaining

19   principal balance plus accrued interest; (b) loans on which payments

20   had not been received in the last 30 days were valued at 50% of the

21   remaining principal balance with no accrual of interest; and

22   (c) loans on which payments had not been received in the last 60 days

23   had no value.   DLI would account for the reduction in value of a non-

24   current loan by taking a reserve against that non-current loan’s

25   unpaid principal balance.      Properly recognizing a loan’s non-current

26   status would reduce the Funds’ gross and net asset values and

27   earnings, which in turn would reduce the management and performance

28   fees to which DLI was entitled.

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 1        15.   Upon completion of the monthly close report and valuation

 2   calculations, defendant ROSS would transmit and cause DLI to transmit

 3   the report and calculations to the Funds’ third-party administrator,

 4   which then used the information to calculate each of the Funds’ gross

 5   and net asset values and earnings, the return on the Funds’

 6   investments, and DLI’s management and performance fees.           The third-

 7   party administrator also prepared the monthly financial statements

 8   sent to each investor.

 9        DLI’s Sale of Assets to Purchaser 1

10        16.   In or about the summer of 2017, defendant ROSS arranged and
11   caused DLI to arrange the sale to Purchaser 1 of certain of the
12   Funds’ assets, including the Funds’ interest (the “participation
13   interest”) in Company 1 loans.      Defendant ROSS and DLI, operating at
14   defendant ROSS’s direction, provided Purchaser 1 with the payment
15   history of Company 1’s loans the Funds proposed to sell.           After
16   conducting due diligence, including reviewing this payment history,
17   Purchaser 1 agreed to purchase the Funds’ participation interests in
18   approximately 962 Company 1 loans for approximately $55 million.
19        17.   After the sale, defendant ROSS provided and caused DLI to
20   provide monthly reports to Purchaser 1 setting forth the monthly
21   performance of the purchased assets, including detailed information
22   regarding the individual performance (“loan-level detail”) of each of
23   Company 1’s loans in which Purchaser 1 had an interest.
24        18.   Purchaser 1 used this loan-level detail to, among other
25   things, calculate the reserves Purchaser 1 would take against non-
26   current loans.
27   B.   THE SCHEME TO DEFRAUD
28        19.   Beginning no later than in or about December 2013, and

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 1   continuing to in or about March 2019, in Los Angeles County, within

 2   the Central District of California, and elsewhere, defendant ROSS,

 3   and others known and unknown to the Grand Jury, knowingly and with

 4   the intent to defraud, devised, participated in, and executed a

 5   scheme to defraud the Funds, their investors, and Purchaser 1 as to

 6   material matters, and to obtain money and property from the victims

 7   by means of material, false and fraudulent pretenses, representations

 8   and promises, and the concealment of material facts.

 9   C.   THE MANNER AND MEANS OF THE SCHEME TO DEFRAUD

10        20.   The fraudulent scheme operated and was carried out, in
11   substance, as follows:
12              a.   As the performance of Company 1’s loans in which the
13   Funds were invested declined, defendant ROSS requested that Company 1
14   return a portion of the servicing fees it had been paid (“servicing
15   fee rebates”), which defendant ROSS negotiated with Company 1.
16              b.   At defendant ROSS’s direction, Company 1 remitted the
17   servicing fee rebates, as well as the payments it received from the
18   borrowers net of the fees to which Company 1 was entitled, to a bank
19   account designated by DLI.
20              c.   At defendant ROSS’s direction, on the monthly
21   financial reports that Company 1 prepared for DLI to be used in DLI’s
22   monthly close and valuation process, Company 1 concealed that the
23   money remitted to the Funds were servicing fee rebates and
24   fraudulently identified the servicing fee rebates as borrower
25   payments in order to disguise their true nature:
26                   i.    Defendant ROSS required that Company 1 send him a
27   report of all non-current loans (the “late loans report”).           Over
28   time, the late loans report came to include all of the Funds’

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 1   Company 1 loans, including those that were current.          Defendant ROSS

 2   required Company 1 to send the late loans report to him alone in the

 3   first instance.

 4                     ii.    After he received the late loans report from

 5   Company 1, defendant ROSS made notations on it indicating to which of

 6   the individual non-current loans defendant ROSS wanted a servicing

 7   fee rebate to be applied, and the amount of the servicing fee rebate

 8   to be provided for each of the designated loans.

 9                     iii. Defendant ROSS sent the late loans report with

10   his annotations and instructions back to Company 1, so that Company 1

11   could modify the late loans report in accordance with his annotations

12   and instructions.       Defendant ROSS generally communicated by email

13   regarding the late loans report with Company 1 senior employees,

14   including Company 1 Employees A and B.

15                     iv.    At defendant ROSS’s direction and based on his

16   annotations to the late loans report, Company 1 then altered the

17   information it reported to DLI by including fictitious borrower

18   payment information in accordance with ROSS’s annotations and

19   instructions.   Specifically, at defendant ROSS’s direction, in the

20   “Last Posted” column on the reports, which was used to show the date

21   of the last borrower payment on the individual loans, Company 1

22   selected and reported for non-current loans random and varying

23   business days as the purported date of the payment.          Further, and

24   also at defendant ROSS’s direction, Company 1 applied the amounts of

25   the servicing fee rebates as if they were borrower payments against

26   the loans’ principal balances, thereby concealing the true nature of

27   the payments and falsely representing that the payments were

28   principal payments made by the borrowers.        Defendant ROSS’s purpose

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 1   in directing Company 1 to alter the late loans reports in these ways

 2   (“fictitious borrower payment information”) was to create a false

 3   pretense that the loans were current.        In fact, these loans were

 4   actually non-current and the principal balances had not been reduced

 5   by borrower payments.

 6                    v.    As defendant ROSS knew and intended, Company 1

 7   then sent the altered late loan reports with the other monthly

 8   financial reports to the DLI personnel responsible for the monthly

 9   close process.    In this way, defendant ROSS caused false information

10   to be used in the monthly close process, including fictitious

11   information about the purported current status of the loans.

12                    vi.   Between in or about April 2014 and in or about

13   January 2018, defendant ROSS caused approximately $2 million in

14   servicing fee rebates to be disguised as borrower payments on more

15   than 1,000 non-current loans.

16              d.    By falsely representing that the servicing fee rebates

17   were borrower payments, defendant ROSS caused the value and earnings

18   of the Funds to be fraudulently inflated as follows:

19                    i.    DLI personnel responsible for the monthly close

20   process reviewed the information in the monthly reports from

21   Company 1 to determine whether a loan was current or non-current and,

22   based on that status, whether to reduce the value of that loan by

23   taking reserves against the loan balance pursuant to DLI’s valuation

24   policy.   By causing Company 1 to include the fictitious borrower

25   payment information in the monthly reports, defendant ROSS caused the

26   reports to not identify all of the non-current loans, thereby

27   allowing DLI to maintain and not reduce the value of the unidentified

28   non-current loans.

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 1                   ii.   By failing to identify non-current loans, the

 2   false and fraudulent information in the monthly reports provided by

 3   Company 1 allowed DLI to calculate gross and net asset values and

 4   earnings of the Funds, as well as the monthly returns on the Funds’

 5   investments, that were higher than they would have been had the

 6   fictitious borrower payment information not been included in the

 7   monthly reports.

 8                   iii. Between April 2014 and January 2018, as a result

 9   of the false and fraudulent monthly reports that defendant ROSS

10   caused Company 1 to prepare, defendant ROSS caused the Funds’ monthly

11   asset values to be cumulatively inflated by over $300 million.

12              e.   By falsely inflating the value and earnings of the

13   Funds, defendant ROSS caused the fraudulent inflation of the

14   performance and management fees the Funds owed to DLI.           Specifically,

15   through his scheme, defendant ROSS caused the Funds and their

16   investors to pay DLI millions of dollars in excess fees between in or

17   about 2014 and in or about 2018.

18              f.   By falsely inflating the gross and net asset values

19   and earnings of the Funds, defendant ROSS also caused the return on

20   the Funds’ investments to be fraudulently inflated.          Defendant ROSS

21   communicated and caused to be communicated these inflated values and

22   earnings to prospective investors to entice them to invest in the

23   Funds.   Defendant ROSS also communicated and caused to be

24   communicated these inflated values and earnings to current investors,

25   including in the monthly investor letters and monthly investor

26   account statements, in order to lull them into maintaining or

27   increasing their investments in the Funds.

28              g.   To further and conceal his scheme, defendant ROSS

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 1   caused, and directed DLI to cause, reports containing the fictitious

 2   borrower payment information to be given to the Funds’ auditors,

 3   thereby causing the annual audited financials provided to investors

 4   to be inaccurate and overstate the value of the Funds.

 5                h.   Defendant ROSS caused, and directed DLI to cause,

 6   reports containing the fictitious borrower payment information to be

 7   given to third-party firms providing valuations of the Funds, thereby

 8   causing the firms’ valuation reports to be inaccurate and overstate

 9   the value of the Funds.

10                i.   To further and conceal his scheme, defendant ROSS,

11   including through the operation of DLI, caused falsified loan

12   information to be provided to Purchaser 1 during the due diligence

13   process in advance of its purchase of the Funds’ participation

14   interest in Company 1’s loans.      Such falsified information included

15   loan-level detail on Company 1’s loans that contained fictitious

16   borrower payment information and omitted any reference to or

17   acknowledgement of the servicing fee rebates Company 1 paid at ROSS’s

18   direction.

19                j.   After Purchaser 1 purchased the Funds’ participation

20   interest in Company 1’s loans, defendant ROSS continued to cause

21   fictitious borrower payment information to be included in the monthly

22   financial reports provided to Purchaser 1.

23                k.   As part of the scheme and in furtherance of it,

24   defendant ROSS made and caused to be made to the Funds, their

25   investors, and Purchaser 1 the following false and fraudulent

26   statements, representations, and promises, and maintained the

27   following false and fraudulent pretenses, among others:

28

                                           13
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 1                     i.      Company 1 did not provide servicing fee rebates

 2   to the Funds;

 3                     ii.     All of the payments recorded in the monthly

 4   reports provided by Company 1 represented borrower payments;

 5                     iii. DLI’s valuation of the Funds’ assets was

 6   conducted in accordance with DLI’s valuation policy and undertaken in

 7   good faith;

 8                     iv.     Reserves were taken against non-current loans in

 9   accordance with DLI’s valuation policy;

10                     v.      The Funds’ gross and net asset values and

11   earnings were as reported in the Funds’ monthly and annual audited

12   financial statements;

13                     vi.     The returns on the Funds’ investments were as

14   reported in investor communications, including the monthly investor

15   letters and the monthly investor account statements;

16                     vii. The history and performance of Company 1’s loans

17   was as set forth in the financial reports provided to Purchaser 1

18   during due diligence; and

19                     viii.        The status of Company 1’s loans was as

20   reported in the monthly reports provided to Purchaser 1.

21                l.   As part of the scheme, defendant ROSS concealed and

22   caused to be concealed from investors the following material facts,

23   among others:

24                     i.      Defendant ROSS asked Company 1 to rebate its

25   servicing fees due to the declining performance of the Company 1

26   portfolio;

27                     ii.     Company 1 agreed to and did provide servicing fee

28   rebates at DLI’s request;

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 1                   iii. Defendant ROSS caused the monthly reports

 2   documenting the history and performance of individual Company 1 loans

 3   to be altered before the reports were provided to DLI;

 4                   iv.     Defendant ROSS’s alterations to the Company 1

 5   monthly reports were designed to, and did, create the false

 6   appearance that the Funds’ held fewer non-current loans than the

 7   Funds in fact held;

 8                   v.      Defendant ROSS caused servicing fee rebates to be

 9   disguised as borrower payments in the monthly financial reports

10   provided by Company 1 to DLI;

11                   vi.     The monthly financial reports provided by Company

12   1 to DLI included fictitious borrower payment information;

13                   vii. The valuation of the Funds’ assets was not

14   conducted in accordance with DLI’s valuation policy;

15                   viii.        The valuation of the Funds’ assets was not

16   undertaken in good faith;

17                   ix.     Reserves were not taken against non-current loans

18   in accordance with DLI’s valuation policy.

19                   x.      The Funds’ monthly financial and annual audited

20   financial statements were inaccurate and reflected an inflated value

21   of the Company 1 portfolio;

22                   xi.     The third-party valuation reports were inaccurate

23   and reflected an inflated value of the Company 1 portfolio;

24                   xii. The gross and net asset values of the Funds were

25   inaccurate and inflated by fictitious borrower payment information;

26                   xiii.        The management and performance fees charged

27   to the Funds by DLI were inflated by fictitious borrower payment

28   information; and

                                           15
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 1                    xiv. The returns on the Funds’ investments reported in

 2   investor communications, including investor letters and investor

 3   account statements, were inaccurate and inflated by fictitious

 4   borrower payment information.

 5   D.    USE OF WIRES

 6         21.   On or about the dates set forth below, in Los Angeles
 7   County, within the Central District of California, and elsewhere, for
 8   the purpose of executing and attempting to execute the above-
 9   described scheme to defraud, defendant ROSS transmitted and caused
10   the transmission of the following items by means of wire
11   communication in interstate and foreign commerce:
12

13   COUNT                      DATE                   INTERSTATE WIRE
14                                                     TRANSMISSION
15   ONE                        12/29/2015             Transfer of approximately
                                                       $1,811,000 from an
16                                                     account in the name of
17                                                     S.I.F., L.P., by means of
                                                       interstate wires, to the
18                                                     DLIF Northbrook Account
                                                       in the Central District
19                                                     of California.
20   TWO                        01/04/2016             Transfer of approximately
21                                                     $2,100,000 from an
                                                       account in the name of
22                                                     M.A.C.F., L.P., by means
                                                       of interstate wires, to
23                                                     the DLIF Northbrook
                                                       Account in the Central
24                                                     District of California.
25

26

27

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 1   THREE                      03/29/2016             Transfer of approximately
                                                       $400,000 from an account
 2                                                     in the name of S.I.F.,
                                                       L.P., by means of
 3
                                                       interstate wires, to the
 4                                                     DLIF Northbrook Account
                                                       in the Central District
 5                                                     of California.
 6   FOUR                       07/27/2016             Transfer of approximately
                                                       $100,000 from an account
 7
                                                       in the name of M.M., by
 8                                                     means of interstate
                                                       wires, to the DLIF
 9                                                     Northbrook Account in the
                                                       Central District of
10                                                     California.
11
     FIVE                       08/08/2016             Email from defendant
12                                                     ROSS, by means of
                                                       interstate wires, to
13                                                     Company 1 Employees A and
                                                       B enclosing the late
14                                                     loans report for July
                                                       2016.
15

16   SIX                        11/07/2016             Email from defendant
                                                       ROSS, by means of
17                                                     interstate wires, to
                                                       Company 1 Employees A and
18                                                     B enclosing the late
                                                       loans report for October
19                                                     2016.
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 1   SEVEN                      03/10/2017             Email from defendant
                                                       ROSS, by means of
 2                                                     interstate wires, to
                                                       Company 1 Employees A and
 3
                                                       B enclosing the late
 4                                                     loans report for February
                                                       2017.
 5
     EIGHT                      06/30/2017             Transfer of approximately
 6                                                     $300,000 from an account
                                                       in the name of M.A.C.F.,
 7
                                                       L.P., by means of
 8                                                     interstate wires, to the
                                                       DLIF Northbrook Account
 9                                                     in the Central District
                                                       of California.
10
     NINE                       07/27/2017             Transfer of approximately
11
                                                       $500,000 from an account
12                                                     in the name of M.A.C.F.,
                                                       L.P., by means of
13                                                     interstate wires, to the
                                                       DLIF Northbrook Account
14                                                     in the Central District
                                                       of California.
15

16
     TEN                        08/07/2017             Email from defendant
17                                                     ROSS, by means of
                                                       interstate wires, to
18                                                     Company 1 Employee B
                                                       enclosing the late loans
19                                                     report for July 2017.
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 1                              FORFEITURE ALLEGATION

 2              [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3        22.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C) and Title 28, United States

 7   Code, Section 2461(c), in the event of the defendant’s conviction of

 8   the offenses set forth in any of Counts One through Ten of this

 9   Indictment.

10        23.   The defendant, if so convicted, shall forfeit to the United

11   States of America the following:

12              (a)   All right, title, and interest in any and all

13   property, real or personal, constituting, or derived from, any

14   proceeds traceable to the offenses; and

15              (b)   To the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the property

17   described in subparagraph (a).

18        24.   Pursuant to Title 21, United States Code, Section 853(p),

19   as incorporated by Title 28, United States Code, Section 2461(c), the

20   defendant, if so convicted, shall forfeit substitute property, up to

21   the value of the property described in the preceding paragraph if, as

22   the result of any act or omission of the defendant, the property

23   described in the preceding paragraph or any portion thereof (a)

24   cannot be located upon the exercise of due diligence; (b) has been

25   transferred, sold to, or deposited with a third party; (c) has been

26   //

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 1   placed beyond the jurisdiction of the court; (d) has been

 2   substantially diminished in value; or (e) has been commingled with

 3   other property that cannot be divided without difficulty.

 4

 5                                            A TRUE BILL
 6

 7
                                                 /S/
 8                                            Foreperson

 9
     NICOLA T. HANNA
10   United States Attorney

11

12
     BRANDON D. FOX
13   Assistant United States Attorney
     Chief, Criminal Division
14
     RANEE A. KATZENSTEIN
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